Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Crucible Industries, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  575 State Fair Boulevard
                                  Solvay, NY 13209
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Onondaga                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.crucible.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
Debtor    Crucible Industries, LLC                                                                    Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         None of the above

                                      B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                3311

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
                                         Chapter 7
     debtor filing?
                                         Chapter 9

                                         Chapter 11. Check all that apply:
                                                                Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                 When                                  Case number
                                                District                                 When                                  Case number

10. Are any bankruptcy cases             No
    pending or being filed by a
    business partner or an               Yes.
    affiliate of the debtor?




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
Debtor    Crucible Industries, LLC                                                                        Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999


15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
Debtor    Crucible Industries, LLC                                                                 Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      December 12, 2024
                                                  MM / DD / YYYY


                             X /s/ John Shiesley                                                          John Shiesley
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/ Charles J. Sullivan (NDNY                                               Date December 12, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Charles J. Sullivan (NDNY 507717)
                                 Printed name

                                 Bond, Schoeneck & King, PLLC
                                 Firm name

                                 One Lincoln Center
                                 Syracuse, NY 13202
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (315) 218-8000                Email address      csullivan@bsk.com

                                 (NDNY 507717) NY
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
Fill in this information to identify the case:

Debtor name         Crucible Industries, LLC

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       December 12, 2024               X /s/ John Shiesley
                                                           Signature of individual signing on behalf of debtor

                                                            John Shiesley
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
 Fill in this information to identify the case:
 Debtor name Crucible Industries, LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF NEW                                                                            Check if this is an
                                                YORK
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Abrasive-Tool                                       Trade debt                                                                                                $128,671.99
 Corporation
 1555 Emerson Street
 Rochester, NY
 14606-3197
 ATI Specialty                                       Trade debt                                                                                                $163,598.60
 Materials
 2021 McKinney
 Avenue
 Dallas, TX 75201
 Bodycote IMT Inc.                                   Trade debt                                                                                                $560,788.80
 270 Emig Road
 Emigsville, PA 17318
 Butler Bros.                                        Trade debt                                                                                                $313,341.03
 200 Lisbon Street
 Lewiston, ME 04240
 CCMA, LLC                                           Trade debt                                                                                                $162,325.67
 867820 Reliable
 Parkway
 Chicago, IL 60686
 Constellation New                                   Trade debt                                                                                                $354,794.16
 Energy, Inc.
 100 Constellation
 Way, Suite 500
 Baltimore, MD
 21202-6302
 Ellwood National                                    Trade debt                                                                                                $230,049.43
 Steel
 1 Front Street
 Irvine, PA 16329
 FRC Global Inc.                                     Trade debt                                                                                                $329,088.41
 1000 N. West Street
 Suite 3008
 Wilmington, DE
 19801-1050




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
 Debtor    Crucible Industries, LLC                                                                  Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 G.O. Carlson, Inc.                                  Trade debt                                                                                                $352,588.50
 d/b/a Electralloy
 175 Main Street
 Oil City, PA 16301
 Harbisonwalker                                      Trade debt                                                                                                $203,686.72
 International
 24074 Network Place
 Chicago, IL
 60673-1240
 Matheson Tri-Gas,                                   Trade debt                Disputed                                                                        $327,726.84
 Inc.
 909 Lake Carolyn
 Parkway
 Suite 1300
 Irving, TX
 75039-4821
 Messer                                              Trade debt                                                                                                $274,916.95
 88718 Expedite Way
 Chicago, IL
 60695-1700
 National Grid Corp.                                 Services provided                                                                                         $765,394.57
 P.O. Box 371376
 Pittsburgh, PA
 15250-7376
 Onondaga County                                                                                                                                               $823,027.29
 Finance Department
 421 Montgomery
 Street, 15th Floor
 Syracuse, NY 13202
 Profound Alloys, LLC                                Trade debt                                                                                                $163,399.10
 6000 Waterdam
 Plaza Drive
 Suite 240
 Canonsburg, PA
 15317
 Purther Recycling Inc.                              Trade debt                                                                                                $241,392.17
 3001 W. Big Beaver
 Road
 Suite 324
 Troy, MI 48084
 RHI US Ltd.                                         Trade debt                                                                                                $134,279.26
 62156 Collections
 Center Drive
 Chicago, IL
 60693-0621
 Schenker Inc.                                       Trade debt                Disputed                                                                        $328,146.66
 3501 Island Avenue
 Philadelphia, PA
 19153




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
 Debtor    Crucible Industries, LLC                                                                  Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Thompson & Johnson                                  Trade debt                                                                                                $139,827.01
 Equipment
 6926 Fly Road
 East Syracuse, NY
 13057
 Treibacher Industries                               Trade debt                                                                                                $234,725.86
 AG
 Auer-von-Welsbach-S
 traBe 1
 9330 Althofen
 AUSTRIA




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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    AAF International
    24828 Network Place
    Chicago, IL 60673-1248


    Abrasive-Tool Corporation
    1555 Emerson Street
    Rochester, NY 14606-3197


    ABS Quallity Evaluations
    P.O. Box 915092
    Dallas, TX 75391-5094


    ACI Controls, Inc.
    10 French Road
    Buffalo, NY 14227


    Aerospace Testing & Pyrometry
    2020 Dayton Drive
    Easton, PA 18040


    AFCO
    P.O. Box 360572
    Pittsburgh, PA 15250-6572


    AIM Recycling Hamilton
    9100 Henri Bourassa E Montreal-Est.
    Quebec, H1E 254
    CANADA


    AJ Machine Rebuilder
    2699 Richmod Terace
    Staten Island, NY 10303


    Alliance Bank, N.A.
    120 Madison Street, 18th Floor
    Syracuse, NY 13202


    Allied Metals Corporation
    2668 Lapeer Road
    Auburn Hills, MI 48326


    Allied Mineral Products, Inc.
    2700 Scioto Parkway
    Columbus, OH 43221
Allied Mineral Products, Inc.
P.O. Box 951410
Cleveland, OH 44193


Allison Abrasives Inc.
141 Industry Road
Lancaster, KY 40444


Allison Abrasives Inc.
P.O. Box 59
Lancaster, KY 40444


Allium US Holding LLC
15 Inverness Way E.
Englewood, CO 80112-5710


Allium US Holding LLC
P.O. Box 911501
Denver, CO 80291-1501


Ally
P.O. Box 380902
Minneapolis, MN 55438-0902


Ally Financial
P.O. Box 9001948
Louisville, KY 40290


Alpha Resources Incorporated
3090 Johnson Road
Stevensville, MI 49127-0199


Alro Steel
105 Vanguard Parkway
Rochester, NY 14606


Alta Material Handling
6847 Ellicott Drive
East Syracuse, NY 13057


Alta/Liftech
6847 Ellicott Drive
East Syracuse, NY 13057
Amber Manufacturing, Inc.
18320 Malyn
Fraser, MI 48026


American Express
P.O. Box 1270
Newark, NJ 07101-1270


American Food & Vending Corp.
124 Metropolitan Park Drive
Liverpool, NY 13088


American Iron & Metal Cleveland, LLC
9100 Henri Bourassa East
Montreal-EST, Quebec H1E 254
CANADA


Anderson Equipment Co.
1000 Washington Pike
Bridgeville, PA 15017


Anderson Equipment Co.
P.O. Box 713564
Philadelphia, PA 19171-3564


Anthracite Industries Inc.
405 Old Main Street
Asbury, NJ 08802-1220


Anthracite Industries Inc.
P.O. Box 144
Asbury, NJ 08802-0144


Applied Industrial Technologies
22510 Network Place
Chicago, IL 60673-1288


Applied Technical Services
1049 Triad Court
Marietta, GA 30062


Aquacut Inc.
909 State Fair Boulevard
Syracuse, NY 13209-1246
Aquatrol Technologies Inc.
5905 E. Taft Road
Syracuse, NY 13212


Aquatrol Technologies Inc.
P.O. Box 2786
Syracuse, NY 13220


Ask Chemicals LLC
P.O. Box 645847
Cincinnati, OH 45264-5847


ATI Specialty Materials
2021 McKinney Avenue
Dallas, TX 75201


ATI Specialty Materials
P.O. Box 843137
Dallas, TX 75284


Automatic Appliance Service
5601 State Route 31
Suite 63
Cicero, NY 13039


Automatic Appliance Service
P.O. Box 63
Clay, NY 13041


Auxilior Capital Partners, Inc.
620 W. Germantown Pike
Plymouth Meeting, PA 19462


Auxilior Capital Partners, Inc.
620 W. Germantown Pike
Suite 450
Plymouth Meeting, PA 19462


Auxilor Capital Partners Inc.
620 West Germantown Pike
Plymouth Meeting, PA 19462


Avery Abrasives Inc.
2225 Reservoir Avenue
Trumbull, CT 06611
AW Miller Technical Sales, Inc.
P.O. Box 69
7661 Seneca Street
East Aurora, NY 14052-0069


Badger Meter
4545 W. Brown Deer Road
Milwaukee, WI 53223


Badger Meter
Box 88223
Milwaukee, WI 53288-8223


Ballard Construction Inc.
320 Bridge Street
Syracuse, NY 13209


Ban-Koe Companies
9401 James Avenue South
Suite 180
Minneapolis, MN 55431


Bankdirect Capital Finance
P.O. Box 660448
Dallas, TX 75266-0448


Battery Power Systems, Inc
6838 Ellicott Drive
East Syracuse, NY 13057


Bell Atlantic Mobile Systems, LLC
d/b/a Verizon Wireless
One Verizon Way, Mail Stop 4AW100
Basking Ridge, NJ 07920


Belmont Metals
330 Belmont Avenue
Brooklyn, NY 11207


Big 4 Tire Sales and Service, Inc.
230 Old Bridge Street
East Syracuse, NY 13057
Blake Thermal Sales & Service, Inc.
4 New Park Road
East Windsor, CT 06088


Blast Cleaning Technologies
6682 W. Greenfield Avenue
Milwaukee, WI 53214


BM Buffalo
5586 Main Street
Buffalo, NY 14221


Bodycote IMT Inc.
270 Emig Road
Emigsville, PA 17318


Bodycote IMT Inc.
P.O. Box 712557
Philadelphia, PA 19171-2557


Bourn & Koch Inc.
c/o JPMorgan Chase
36856 Eagle Way
Chicago, IL 60678-1368


Bourne & Koch Inc.
2500 Kishwaukee Street
Rockford, IL 61104


Brackett Machine Co. Inc.
152 North Road
Butler, PA 16001


Brady Systems
811 North Alvord Street
Syracuse, NY 13208


Brant and Deborah Tomushunas
3006 Amber Road
Marietta, NY 13110


BRC Global Rolls Inc.
c/o Cash & Forge Technologies, Ltd.
89 King Street West, Dundas, Ontario
L9H 1V1, CANADA
Brenntag Lubricants LLC
5083 Pottsville Pike
Reading, PA 19605


Brenntag Lubricants LLC
P.O. Box 843334
Dallas, TX 75284-3334


Brown & Brown of New York, Inc.
P.O. Box 745839
Atlanta, GA 30374-5839


Burns Bros Contractors
400 Levenworth Avenue
Syracuse, NY 13204


Butler Bros.
200 Lisbon Street
Lewiston, ME 04240


Butler Bros.
P.O. Box 1375
Lewiston, ME 04243-1375


Butler Fence Co.
536 State Fair Boulevard
Syracuse, NY 13204


Butler Fence Co.
P.O. Box 887
Syracuse, NY 13209


By-Product Industries, Inc.
612 Trent Avenue
Pittsburgh, PA 15221


C & S Engineers, Inc.
P.O. Box 64366
Baltimore, MD 21264-4366


Calibre Group LLC
707 Grant Street
Suite 2320
Pittsburgh, PA 15219
CAMA Software, LLC
39252 Winchester Road
Suite 107-25B
Murrieta, CA 92563


Carl J. Bush Company - USA
P.O. Box 82207
Rochester, MI 48308


Carmeuse Lime (Canada) Limited
3136B Highway 17E
Blind River, Ontario P0R 1B0
CANADA


Carmeuse Lime (Canada) Limited
P.O. Box 56372, Station A
Toronto, Ontario [MISSING ZIP]
CANADA


Casey Equipment Corp.
275 Kappa Drive
Pittsburgh, PA 15238


Cattron North America Inc.
655 N. River Road NW
Suite A
Warren, OH 44483


Cattron North America Inc.
Box 418114
Boston, MA 02241-8114


CCMA, LLC
867820 Reliable Parkway
Chicago, IL 60686


CED Inc.
P.O. Box 780758
Philadelphia, PA 19178-0758


Central New York Sheet Metal
4083 New Court Avenue
Syracuse, NY 13206
Certified Environmental Services
7280 Caswell Street
North Syracuse, NY 13212


Chalmers & Kubeck, Inc.
P.O. Box 2447
150 Commerce Drive
Aston, PA 19014-0447


Chemalloy Company
1301 Conshohocken Road
Conshohocken, PA 19428


Chemalloy Company
P.O. Box 45965
Baltimore, MD 21297-5965


Cintas Corporation
7655 Henry Clay Boulevard
Liverpool, NY 13088


Ciotti Enterprises, Inc.
6533 Badgley Road
East Syracuse, NY 13057


CIT Technology Financing Services Inc.
P.O. Box 33076
Newark, NJ 07188-0076


Clark Rigging & Rental Corp.
500 Ohio Street
Lockport, NY 14094


Clearstream Filters Inc.
57 Arnold Sayeau Drive
Delhi, Ontario N4B 2W5
CANADA


Cleveland Electric Laboratories
1776 Enterprise Parkway
Twinsburg, OH 44087


CMP Sheet Metal, Inc.
360 North Midler Avenue
Syracuse, NY 13206
CNA Insurance
P.O. Box 74007619
Chicago, IL 60674-7619


CNY Exterminating Inc.
15 Woody Drive
West Monroe, NY 13167


CNY Exterminating Inc.
P.O. Box 73
West Monroe, NY 13167


Cole-Parmer Instrument Co.
13927 Collections Center Drive
Chicago, IL 60693-0139


Comairco Equipment Inc.
3250 Union Road
Buffalo, NY 14227


Commercial Credit Group
P.O. Box 60121
Charlotte, NC 28260-0121


Commercial Credit Group Inc.
400 Essjay Road
Suite 340
Buffalo, NY 14221


Commercial Credit Group, Inc.
400 Essjay Road
Suite 100
Buffalo, NY 14221


Commercial Lawn & Landscape, Inc.
6083 NY-31
Cicero, NY 13039


Commercial Lawn & Landscape, Inc.
P.O. Box 2037
Syracuse, NY 13220
Computer Packages Inc.
Attn: Accounting Department
11 N. Washington Street, Suite 300
Rockville, MD 20850


Comsource
500 Plum Street
Suite 400
Syracuse, NY 13204


Comsource, Inc.
8104 Cazenovia Road
Manlius, NY 13104


Constellation New Energy, Inc.
100 Constellation Way, Suite 500
Baltimore, MD 21202-6302


Constellation New Energy, Inc.
P.O. Box 4640
Carol Stream, IL 60197-4640


Core Metals Groupp LLC
P.O. Box 95764
Chicago, IL 60694-5764


Corrosion Products & Equipment Inc.
17 Powder Hill Road
Lincoln, RI 02865


Couch White, LLP
540 Broadway, 7th Floor
Albany, NY 12207


Couch White, LLP
P.O. Box 22222
Albany, NY 12201-2222


CPS Recruitment, Inc.
904 7th North Street
Liverpool, NY 13088
Crouse Help People EAP
890 Seventh North Street
Suite 203
Liverpool, NY 13088


Cru International Ltd.
Chancery House, 53-64 Chancery Lane
London, W2A 1QS
UNITED KINGDOM


Crushed Products Inc.
320 Bridge Street
Syracuse, NY 13209


CSX Transportation
c/o CSXT Property Services
P.O. Box 530181
Atlanta, GA 30353-0181


CSX Transportation
c/o CSXT Property Services
P.O. Box 530181
Atlanta, GA 30350-0181


Cumberland Vacuum Products, Inc.
720 South West Boulevard
Vineland, NJ 08360


Custom Alloys, Inc.
1462 U.S. Route 20
Belvidere, IL 61008


Customized Energy Solutions Ltd.
1528 Walnut Street, 22nd Floor
Philadelphia, PA 19102


Customized Energy Solutions Ltd.
c/o Lieb Solutions
P.O. Box 22
Maple Shade, NJ 08052-0022


CX Industries, LLC
812 Huron Road
Suite 880
Cleveland, OH 44115
Cyber Metrics
1523 W. Wipering Wind Drive
Suite 100
Phoenix, AZ 85085


D & W Diesel Inc.
1503 Clark Street Road
Auburn, NY 13021-9593


D F Brandt Inc.
8152 Kirkville Road
Kirkville, NY 13082-9719


David Gardner
1690 Rowley Jerome Road
Fabius, NY 13063


David L Ellis Co. Inc.
310 Old High Street
P.O. Box 592
Acton, MA 01720


Davis-Ulmer, Inc.
P.O. Box 412007
Boston, MA 02241-2007


De Lage Landen Financial Services Inc.
1111 Old Eagle School Road
Wayne, PA 19087


Dell Marketing, LP
2300 West Plano Parkway
Plano, TX 75075


Dell Marketing, LP
c/o Dell USA, LP
P.O. Box 643561
Pittsburgh, PA 15264-3561


Delmar Everson
c/o Melvin & Melvin
217 South Salina Street
Syracuse, NY 13202
Delta Dental of New York, Inc.
150 E. 58th Street
New York, NY 10155


Delta Dental of New York, Inc.
Attn: Accounts Receivable
P.O. Box 62577
Baltimore, MD 21264-2577


Deluxe Home and Office Cleaning
428 South Main Street
Suite 101
North Syracuse, NY 13212


DGI Supply
P.O. Box 200068
Dallas, TX 75320-0068


Digi-Key Electronics
701 Brooks Avenue South
Thief River Falls, MN 56701


Digi-Key Electronics
P.O. Box 250
Thief River Falls, MN 56701-0250


Dival Safety Equipment Inc.
1721 Niagara Street
Buffalo, NY 14207


DK Associates Co.
710 McKnight Park Drive
Pittsburgh, PA 15237


Dominion Nickel Alloys
834 Appleby Line
Burtlington, Ontgario L7L 2Y7
CANADA


Dox Electronics, Inc.
105 College Avenue
Rochester, NY 14607
Dun & Bradstreet
P.O. Box 931197
Atlanta, GA 31193-1197


E3 Diagnostics Inc.
3333 N. Kennicott Avenue
Attn: Accounts Receivable
Arlington Heights, IL 60004-1429


Echelon Supply and Service
Box 8000
Department 921
Buffalo, NY 14267-0002


Electralloy
P.O. Box 6199
Hermitage, PA 16148


Element Materials Technology
P.O. Box 780389
Philadelphia, PA 19178-0389


ELG Metals Inc.
369 River Road
McKeesport, PA 15132


Ellwood Engineered Castings
7158 Hubbard Masury Road
Hubbard, OH 44425


Ellwood Engineered Castings
P.O. Box 536401
Pittsburgh, PA 15253-5906


Ellwood National Steel
1 Front Street
Irvine, PA 16329


Ellwood National Steel
Lockbox P1
P.O. Box 536401
Pittsburgh, PA 15253-5906
Emerson Oil Co., Inc.
545 Lyell Avenue
Rochester, NY 14606


Empire Hydraulics & Machine, LLC
13428 Victory Lane
Adams Center, NY 13606


Empire Hydraulics & Machine, LLC
P.O. Box 124
Adams Center, NY 13606


Empire State Development
P.O. Box 5583
New York, NY 10087-5583


Endurance Metals
1300 Rose City Boulevard
Richmond, IN 47374


Endurance Metals
P.O. Box 55677
Houston, TX 77255-5677


Endurance Metals LLC
c/o The Neal Law Group, PLLC
3006 Brazos Street
Houston, TX 77006


Erie Copper Works LLC
230 N. State Road
Medina, OH 44256


Erie Copper Works LLC
P.O. Box 309
Medina, OH 44258


Ervin Industries Inc.
681 E. Butler Road
Butler, PA 16002


Ervin Industries Inc.
Department 77997
P.O. Box 77000
Detroit, MI 48277-0997
Estabrook Corp.
P.O. Box 804
Berea, OH 44017


Evident Scientific
Dept. 3595
P.O. Box 123595
75312-3595


Evoqua Water Technologies
28563 Network Place
Chicago, IL 60673-1285


Excellus Health Plan
P.O. Box 5266
Binghamton, NY 13902-5266


Fabris Inc.
1216 South Service Road
Stoney Creek, Ontario L8E 5C4
CANADA


Fidelity Investments
Institutional Operations Company, Inc.
P.O. Box 73307
Chicago, IL 60673-7307


Filtersource.Com, Inc.
228 Park Avenue South
PMB39157
New York, NY 10003-1502


Firley, Moran, Freer & Eassa
125 E. Jefferson Street
Suite 920
Syracuse, NY 13202


First Insurance Funding Corp.
450 Skokie Boulevard
Suite 1000
Northbrook, IL 60062-7917


First Niagara Leasing, Inc.
725 Exchange Street, Suite 900
Buffalo, NY 14210
First Reliance Standard - Vision
P.O. Box 650804
Dallas, TX 75265-0804


Flex Hose Company
4560 Buckley Road
Liverpool, NY 13088


Fradon Lock Co., Inc.
467 Burnett Avenue
Syracuse, NY 13203


Francisco Machine and Design
5077 Webster Mile Drive
Syracuse, NY 13215


Franklin Bronze Plaques
4201 US 322 West
Franklin, PA 16323


FRC Global Inc.
1000 N. West Street
Suite 3008
Wilmington, DE 19801-1050


FRC Global, Inc.
P.O. Box 121
Hamburg, NY 14075


Fulton Tool Company, Inc.
802 West Broadway
Fulton, NY 13069


FW Webb Company
160 Middlesex Turnpike
Bedford, MA 01730


G.O. Carlson, Inc. d/b/a Electralloy
175 Main Street
Oil City, PA 16301


G.O. Carlson, Inc. d/b/a Ellectralloy
c/o Blank Rome LLP
1271 Avenue of the Americas
New York, NY 10020
Gartner Equipment Co.
302 Sand Street
Syracuse, NY 13204


Gartner Equipment Co.
P.O. Box 11199
Syracuse, NY 13218-1199


GES Graphite Inc.
5628 Clifford Circle
Birmingham, AL 35210


GES Graphite Inc.
Mail Code: 6430
P.O. Box 96430
Charlotte, NC 28296-0430


GL Power, Inc.
3691 Shepard Road
Perry, OH 44081


GL Power, Inc.
1973 Great Lakes Way
Madison, OH 44057


Gleason Salt & Supply
6551 Pottery Road
Warners, NY 13164


Gleason Salt & Supply
P.O. Box 188
Warners, NY 13164


Glen Carbide Incorporated
1054 Campbells Run Road
Carnegie, PA 15106


Global Industrial
29833 Network Place
Chicago, IL 60673-1298


Grainger Inc.
Dept. 877340646
Palatine, IL 60038
Graymont (PA) Inc.
375 Graymont Road
Bellefonte, PA 16823


Graymont (PA) Inc.
Box 200700
Pittsburgh, PA 15251-0700


Great American Financial Services
P.O. Box 660831
Dallas, TX 75266-0831


Great American Financial Services
P.O. Box 660831
Dallas, TX 75266


Great Lakes Power Service Co.
1973 Great Lakes Way
Madison, OH 44057


H & C Tool Supply Corp.
235 Mt. Read Boulevard
Rochester, NY 14611-0330


H & C Tool Supply Corp.
P.O. Box 11330
Rochester, NY 14611


H C Bainbridge Inc.
718 N. Salina Street
Syracuse, NY 13208


H.F. Brown Machine Co., Inc.
P.O. Box 849
708 State Street
Utica, NY 13502


Hanes Supply Inc.
55 James E. Casey Drive
Buffalo, NY 14206


Hannecard Roller Coatings, Inc.
1031 Lambert Streer
Barberton, OH 44203-1689
Hannon Electric
1605 Waynesburg Drive S.E.
Canton, OH 44707


Harbisonwalker International
24074 Network Place
Chicago, IL 60673-1240


Harry Letzic Company, Inc.
P.O. Box 511
Carbondale, PA 18407


Hartford Life Insurance Company
P.O. Box 660916
Dallas, TX 75266-0916


Haun Welding Supply Inc.
5921 Court Street Road
Syracuse, NY 13206


Henry Schein Inc.
135 Duryea Road
Melville, NY 11747


Henry Schein Inc.
Box 371952
Pittsburgh, PA 15250-7952


Heraeus Electro-Nite Co.
88736 Expedite Way
Chicago, IL 60695-1700


Herc Rentals Inc.
P.O. Box 936257
Atlanta, GA 31193


Hewlett Packard
200 Connell Drive
Suite 5000
Berkeley Heights, NJ 07922


How Hydronics
8512 Route 57
Baldwinsville, NY 13027
HSA Bank
P.O. Box 939
Sheboygan, WI 53082


HYG Financial
P.O. Box 77102
Minneapolis, MN 55480


HYG Financial Services, Inc.
P.O. Box 35701
Billings, MT 59107


HYG Financial Services, Inc.
P.O. Box 77102
Minneapolis, MN 55480-7102


I Squared R Element Co., Inc.
12600 Clarence Center Road
P.O. Box 390
Akron, NY 14001-0390


ICD Alloys and Metals LLC
3946 Westpoint Boulevard
Winston Salem, NC 27103


IMACRO, Inc.
4400 Easton Commons Way
Suite 125
Columbus, OH 43219


IMACRO, Inc.
P.O. Box 62088
Burlington, Ontario L7R 4K2
CANADA


IMR Test Labs - Ithaca
P.O. Box 772547
Detroit, MI 48277-2547


Indian Springs Mfg. Co.
P.O. Box 469
Baldwinsville, NY 13027
Inductotherm Corp.
10 Indel Avenue
Rancocas, NJ 08073


Inductotherm Corp.
P.O. Box 157
10 Indel Avenue
Rancocas, NJ 08073


Industrial Battery & Charger, Inc.
P.O. Box 602104
Charlotte, NC 28260-2104


Industrial Fabricating Corp.
6201 East Molloy Road
East Syracuse, NY 13057


Industrial Gas Engineering Co., Inc.
P.O. Box 316
Westmont, IL 60559-0316


Industrial Magnetics, Inc.
1385 M-75 South
Boyne City, MI 49712


Industrial UI Services
50 Tice Boulevard
Suite A20
Woodcliff Lake, NJ 07677


Instron Company
75 Remittance Drive
Suite 6826
Chicago, IL 60675-6826


Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346


Interstate Chemical Company
P.O. Box 931412
Cleveland, OH 44193
Ironclad Environmental
4888 Loop Central Drive
Suite 440
Houston, TX 77081


Ironclad Environmental
P.O. Box 671562
Dallas, TX 75267-1562


J. Solotken & Company, Inc.
P.O. Box 19855
6701 English Avenue
Indianapolis, IN 46219


J. Solotken and Co., Inc.
c/o Paganelli Law Group
Two Meridian Plaza, 10401 N. Meridian St
Indianapolis, IN 46290


Jerome Fire Equipment Co.
8721 Caughdenoy Road
Clay, NY 13041


JPW Structural Contracting, Inc.
6376 Thompson Road
Syracuse, NY 13206


JR Auto Parts
104 Charles Avenue
Syracuse, NY 13209


JT Systems, Inc.
P.O. Box 2575
Liverpool, NY 13089-2575


Juno's Glass
9 Arterial E.
Auburn, NY 13021


Kairos Specialty Metals Corp.
404 W. Main Street
Mount Summit, IN 47361
Kairos Specialty Metals Corp.
P.O. Box 714617
Cincinnati, OH 45271-4617


Kairos Specialty Metals Corp.
c/o Giarmarco, Mullins & Horton, P.C.
101 West Big Beaver Road
Troy, MI 48084-5280


Kathleen Funderburk
18 High Street
Brunswick, ME 04011


Kendrick Rowser
206 Davis Street
East Syracuse, NY 13057


Kenneth Crosby, A DXP Company
P.O. Box 840511
Dallas, TX 75284-0511


Kepner Equipment
2365 Firehall Road
Canandaigua, NY 14424


KeyBank, N.A.
127 Public Square
Cleveland, OH 44114-1306


Kimco Steel Sales Ltd.
P.O. Box 225
Fineview, NY 13640


King Supply, Inc.
9145 King Street
Franklin Park, IL 60131


Konecranes Inc.
7706 Maltlage Drive
Liverpool, NY 13090


Konecranes, Inc.
P.O. Box 644994
Pittsburgh, PA 15264-4994
Krell Distributing Co., Inc.
211 Herald Place
Syracuse, NY 13202


Latrobe Specialty Metals
P.O. Box 644181
Pittsburgh, PA 15264-4181


Leco Corporation
3000 Lakeview Avenue
Saint Joseph, MI 49085-2319


Leggett & Platt Inc.
L & P Financial Services
P.O. Box 538385
Atlanta, GA 30353-8385


Lenick Company
Manor Oak Two - Suite 345
1910 Cochran Road
Pittsburgh, PA 15220


Lifetime Benefit Solutions, Inc.
333 Butternut Drive
Syracuse, NY 13214


Lifetime Benefit Solutions, Inc.
P.O. Box 5510
Binghamton, NY 13902-5510


Liftsafe/Fuel Safe Inc.
515 East Brighton Avenue
Syracuse, NY 13210


Lincoln Life & Annuity Company of NY
P.O. Box 7247-0347
Philadelphia, PA 19170-0347


Linde
P.O. Box 417518
Boston, MA 02241-7518


Linde Inc. f/k/a Praxair
10 Riverview Drive
Danbury, CT 06810
Linde Inc. f/k/a Praxair
P.O. Box 417518
Boston, MA 02241-7518


LL-Resources GMGH
c/o North American Specialty Alloys
2585 Washington Road, Suite 130
Pittsburgh, PA 15241


Logan Chapman
349 West Seneca Turnpike
Syracuse, NY 13207


LVR
P.O. Box 187
Northampton, PA 18067


Magnetic Analysis
P.O. Box 8000
Department 175
Buffalo, NY 14267-0002


Magnetic Analysis Corporation
103 Fairview Park Drive
Elmsford, NY 10523


Magnetic Analysis Corporation
P.O. Box 8000
Department 175
Buffalo, NY 14267-0002


Major Metals Corporation
2006 Tobsal Court
Warren, MI 48091-3797


Major Metals Corporation
c/o Barclay Damon
125 East Jefferson Street
Syracuse, NY 13202


Malcolm G. Stevens Inc.
12 Progress Avenue
Tyngsboro, MA 01879
Manufacturers Association of CNY
5788 Widewaters Parkway
Syracuse, NY 13214


Mark Products Enterprises Ltd.
3492 Court Street
Syracuse, NY 13206


Marsh USA Inc.
1717 Arch Street
Philadelphia, PA 19103


Marsh USA Inc.
P.O. Box 417724
MA5-527-02-07
Boston, MA 02241-7724


Matheson Tri-Gas, Inc.
909 Lake Carolyn Parkway
Suite 1300
Irving, TX 75039-4821


Matheson Tri-Gas, Inc.
P.O. Box 842724
Dallas, TX 75284-2724


Matheson Tri-Gas, Inc.
c/o Foley & Lardner LLP
1000 Louisiana Street, Suite 2000
Houston, TX 77002-2099


Mazak Corporation
North Central-Florence
P.O. Box 702100
Cincinnati, OH 45270-2100


McIntosh Box & Pallet Co., Inc.
5846 Heritage Landing Drive
East Syracuse, NY 13057


McKesson Medical Surgical
6555 State Highway 161
Irving, TX 75039
McKesson Medical Surgical
P.O. Box 933027
Atlanta, GA 31193-3027


McMaster-Carr Supply Co.
600 N. County Line Road
Elmhurst, IL 60126-4355


McMaster-Carr Supply Co.
P.O. Box 7690
Chicago, IL 60680-7690


Medart Inc.
199 Clyde Street
Ellwood City, PA 16117


Merchants Automotive
d/b/a Merchants Fleet
14 Central Park Drive, 1st Floor
Hooksett, NH 03106


Merchants Automotive Group
d/b/a Merchants Fleet
14 Central Park Drive, 1st Floor
Hooksett, NH 03106


Messer
88718 Expedite Way
Chicago, IL 60695-1700


Metal & Mineral Processing, Inc.
107 Myrtle Avenue
Ramsey, NJ 07446-1017


Metal & Mineral Processing, Inc.
P.O. Box 27
Ramsey, NJ 07446


Metal Marker Mfg. Co.
6225 Lear Nagle Road
North Ridgeville, OH 44039
Metal Marker Mfg. Co.
c/o C2C Resources, LLC
1455 Lincoln Parkway E., Suite 550
Atlanta, GA 30346


Metalico Youngstown Inc.
Div. 160 - Mail Code 7946
P.O. Box 7247
Philadelphia, PA 19170-7946


Metlab Corporation
4011 Hyde Park Boulevard
Niagara Falls, NY 14305


Metlab Corporation
P.O. Box 1075
Niagara Falls, NY 14302-1075


Michael and Ann Marie Corbett
c/o Belluck & Fox, LLP
546 Fifth Avenue, 4th Floor
New York, NY 10036


Microcentric Corp.
P.O. Box 323
Plainview, NY 11803-0323


Midcom Data Technologies
2625 E. Oakley Park Road
Suite 125
Commerce Township, MI 48390


Midway Industrial Supply
3902 Columbia Avenue
Lindwood, PA 19061


Midway Industrial Supply
P.O. Box 303
Utica, NY 13503-0303


Millbank Materials PA, Ltd.
323 S. Main Street
Zelienople, PA 16063
Millbank Materials PA, Ltd.
P.O. Box 83149
Portland, OR 97283


Miller and Company
P.O. Box 7858
Carol Stream, IL 60197-7858


Milton Cat
7309 Eastman Road
North Syracuse, NY 13212


Mitten Fluidpower Corporation
P.O. Box 2877
Syracuse, NY 13220


Mitten Fluidpower Inc.
111 Baker Street
Syracuse, NY 13206


MMG Industrial
186 Colgate Avenue
Buffalo, NY 14220


Modern Industries, Inc.
613 West 11th Street
Erie, PA 16501


Morgan Advanced Materials
2102 Old Savannah Road
Augusta, GA 30906


Motion AI
213 W. Wayne Street
Fort Wayne, IN 46802


Motion Industries, Inc.
6420 Deere Road
Suite 2
Syracuse, NY 13206


Motion Industries, Inc.
P.O. Box 414444
Boston, MA 02241
MSC Industrial Supply Co.
52 Marway Circle
Sute 3
Rochester, NY 14624


MSC Industrial Supply Co.
P.O. Box 953635
Saint Louis, MO 63195-3635


MSCI Central NY Chapter
105 Vanguard Parkway
Rochester, NY 14606


MTALX
132 Brent Street
NW4 2DR
LONDON


Mubea Precision Springs
Dept. CH 19981
Palatine, IL 60055-9981


Mullen Industrial Handling Corp.
P.O. Box 246
East Syracuse, NY 13057-0246


Murphy and Nolan Inc.
340 Peat Street
Syracuse, NY 13210


Murphy and Nolan, Inc.
P.O. Box 6689
Syracuse, NY 13217-6689


Myers Vacuum Co.
1155 Myers Lane
Kittanning, PA 16201


N E T & Die Inc.
P.O. Box 240
Fulton, NY 13069


National Grid Corp.
P.O. Box 371376
Pittsburgh, PA 15250-7376
NDC Technologies, Inc.
21545 Neywork Place
Chicago, IL 60673-1215


NES Rentals
P.O. Box 205572
Dallas, TX 75320-5572


Neville W. Sachs, P.E., PLLC
5 Elm Way
Camillus, NY 13031


New York State Processing Center
P.O. Box 15310
Albany, NY 12212-5310


NFP Property & Casualty Services
P.O. Box 856595
Minneapolis, MN 55485-6595


Niagara Erecting Inc.
500 Ohio Street
Lockport, NY 14094


Niagara Speciality Metals Inc.
P.O. Box 280
12600 Clarence Center Road
Akron, NY 14001-0280


Niobec Inc.
3400 Columbium Road
St-Honore-De-Chicouti, QC G0V 1L0
CANADA


Nitco LLC
P.O. Box 22241
New York, NY 10087-2241


Nixon Peabody LLP
1300 Clinton Street
Rochester, NY 14604


NOCO Energy Corp. Fuels
1300 Wolf Street
Syracuse, NY 13208
NOCO Energy Corp. Fuels
Department #116218
P.O. Box 5211
Binghamton, NY 13902-5211


North American Minerals Corporation
1200 Valley West Drive
Suite 602
West Des Moines, IA 50266


Northern Asphalt LLC
P.O. Box 6418
Syracuse, NY 13217


Northland Communications, Inc.
P.o. Box 419
Holland Patent, NY 13354-0419


NY Urban Development Corporation
d/b/a Empire State Development
633 Third Avenue
New York, NY 10017


NYS Department of Health
Bureau of Environmental Radiation Prot.
Empire State Plaza,Corning Tower, 12 Fl
Albany, NY 12237


NYS Department of Taxation & Finance
Attn: Bankruptcy Unit
P.O. Box 5300
Albany, NY 12205-0300


NYS Dept. of Environmental Conservation
Region 7
615 Erie Boulevard West
Syracuse, NY 13204-2400


OCCMED Well Now
P.O. Box 10459
Albany, NY 12201-5459


Office Design Systems and Media Group
217 Durston Avenue
Syracuse, NY 13203
Oil Skimmers, Inc.
12800 York Road
Suite G
North Royalton, OH 44133


Omari Anderson
14 Kingman Road
Liverpool, NY 13090


Omni Services of N.Y., Inc.
6191 E. Molloy Road
East Syracuse, NY 13057


Omni Services of N.Y., Inc.
P.O. Box 350016
Boston, MA 02241-0516


Omnisite
203 West Morris Street
Indianapolis, IN 46225


On Site Solutions, LLC
6811 Baldwin Road
Cayuga, NY 13034


Onondaga County Finance Department
421 Montgomery Street, 15th Floor
Syracuse, NY 13202


Onondaga County Finance Department
P.O. Box 1004
Syracuse, NY 13201-1004


Onondaga County Water Authority
200 Northern Concourse
Syracuse, NY 13212


Onondaga County Water Authority
P.O. Box 4949
Syracuse, NY 13221-4949


Ontario Tool & Equipment, Inc.
d/b/a Ontario Tool & Abrasive
10 East Main Street, Suite 103
Victor, NY 14564
Opti-Lube, Inc.
1646 W. Business Park Drive
Suite B
Orem, UT 84058


Ovivo, LLC
P.O. Box 673076
Detroit, MI 48267-3076


P.A. Leone & Sons, Inc.
208 Basin Street
Syracuse, NY 13208


Pacemaker Steel & Piping Co.
501 Main Street
Utica, NY 13501


Pacemaker Steel & Piping Co.
P.O. Box 474
Utica, NY 13503-0474


Park Place Technologies
P.O. Box 78000
Dept. 781156
Detroit, MI 48278-1156


Penticton Foundry Ltd.
568 Dawson Avenue
Penticon, British Columbia V2A 3NB
CANADA


Pitney Bowes
P.O. Box 981026
Boston, MA 02298


Pitney Bowes Bank, Inc.
P.O. Box 981026
Boston, MA 02298


PKG Equipment, Inc.
367 Paul Road
Rochester, NY 14624
PNC Equipment Finance
655 Business Center Drive
Horsham, PA 19044


Pro Tubes
39 Weatherhill Road
Hamburg, NJ 07419


Profound Alloys, LLC
6000 Waterdam Plaza Drive
Suite 240
Canonsburg, PA 15317


PTS Tooling & Machine LLC
8117 Colony Drive
Algonac, MI 48001


Purchase Power
P.O. Box 371874
Pittsburgh, PA 15250-7874


Purther Recycling Inc.
3001 W. Big Beaver Road
Suite 324
Troy, MI 48084


PVS Nolwood Chemicals, Inc.
80 Metcalfe Street
Buffalo, NY 14206


Quaker Houghton
4040 Pashphere Circle
Chicago, IL 60674


Quality & Environmental Management
4256 Colorado Run
Syracuse, NY 13215


Quantum Alloys Corporation
3909 Washington Road
Suite 320
McMurray, PA 15317
Questar Solutions LLC
P.O. Box 7410185
Chicago, IL 60674-0185


Quintus Technologies, Incl.
8270 Green Meadows Drive, North
Suite 6899
Lewis Center, OH 43035


R & L Hydraulics Inc.
109 Tremont City Road
Springfield, OH 45502


R.P. Adams
225 E. Park Drive
Tonawanda, NY 14150


R.P. Adams
P.O. Box 85406
Chicago, IL 60689-5406


Radius Global Solutions
7831 Glenroy, Suite 250
Minneapolis, MN 55439


Radius Global Solutions
P.o. Box 390915
Minneapolis, MN 55439


Radwell International Inc.
309 S. Regional Road
Greensboro, NC 27409


Radwell International Inc.
P.O. Box 419343
Boston, MA 02241-9343


Refractory Maintenance Corp.
4524 N.Y. 104
Williamson, NY 14589


Refractory Maintenance Corp.
P.O. Box 98
Williamson, NY 14589
Reliance Standard Life Insurance Company
P.O. Box 3123
Southeastern, PA 19398-3123


Resco Products Inc.
P.O. Box 7410694
Chicago, IL 60674


Reuning - McKim Inc.
567 W. Main Street
Saxonburg, PA 16056


Reuning - McKim Inc.
P.O. Box 188
Saxonburg, PA 16056


RHI US Ltd.
62156 Collections Center Drive
Chicago, IL 60693-0621


Ricks Rags
124 W. Hickory Street, #1409
Canastota, NY 13032


Rocklin Manufacturing Co.
110 South Jennings Street
P.O. Box 1259
Sioux City, IA 51102-1259


Rocky Mountain Reference Materials
P.O. Box 219
Stevensville, MI 49172


Rumetco Sales Inc.
610 West Bear Street
Syracuse, NY 13204


Ryder Transportation Services
P.O. Box 96723
Chicago, IL 60693-9337


Ryder Truck Rental
P.O. Box 96723
Chicago, IL 60693-9337
Sam Rao Florist
104 Myron Road
Syracuse, NY 13219


Sanico, Inc.
P.O. Box 2037
Binghamton, NY 13902


SB Specialty Metals LLC
1020 7th North Street
Liverpool, NY 13088


SB Specialty Metals LLC
P.O. Box 7410681
Chicago, IL 60674-0681


Scan-Pac Manufacturing
N84 W13480 Leon Road
Menomonee Falls, WI 53051


Scanacon, Inc.
950 Wales Drive
Hartville, OH 44632


Schenker Inc.
3501 Island Avenue
Philadelphia, PA 19153


Schenker, Inc.
1305 Executive Boulevard
Suite 200
Chesapeake, VA 23320


Schenker, Inc..
P.O. Box 7247-7623
Philadelphia, PA 19170-7623


Sealing Devices Inc.
4400 Walden Avenue
Lancaster, NY 14086-9751


Select Office Systems, Inc.
P.O. Box 11777
Burbank, CA 91510
Severn Engineering Co., Inc.
1203 Crestside Drive
Suite 120
Coppell, TX 75019


Sherwin-Williams Co.
P.O. Box 412746
Boston, MA 02241-2746


Simmers Crane Design & Service
1134 Salem Parkway West
Salem, OH 44460-1053


Sixmo Architects Engineers
204 Front Street
Marietta, OH 45750


Slack Chemical Company Inc.
465 South Clinton Street
P.O. Box 30
Carthage, NY 13619-0030


Soderfors
Alleima, Ostra Verken 1
Soderfors, SE-815 75
SWEDEN


Sola Systems
207 Cedar Street
Mount Pleasant, PA 15666


Solarwinds Net, Inc.
P.O. Box 730720
Dallas, TX 75373-0720


Specialized Imprinting Inc.
8565 Hale Road
Manlius, NY 13104


Specialized Imprinting Inc.
P.O. Box 490
Manlius, NY 13104
Specialty Steel Industry
of North America
3050 K Street, NW
Washington, DC 20007


Spectrodyne Inc.
2036 Emerson Drive
P.O. Box 577
Quakertown, PA 18951


Spectrum Chemical Mfg. Corp.
769 Jersey Avenue
New Brunswick, NJ 08901-3605


Spectrum Chemical Mfg. Corp.
P.O. Box 740894
Los Angeles, CA 90074-0894


Specview Inc.
115 George Street, Suite 623
Oakville, Ontario L6J 0A2
CANADA


Sprague Operating Resources
P.O. Box 782532
Philadelphia, PA 19178-2532


Stainless Steel Midwest
2615 Highway 146 East
La Grange, KY 40031


Stephen Gould Corp.
35 South Jefferson Road
Whippany, NJ 07981


Stephenson Equipment Inc.
7201 Paxton Street
Harrisburg, PA 17111


Stericycle Inc.
28883 Network Place
Chicago, IL 60673-1288
Strategic Alloys LLC
446 Quail Ridge Drive
Hot Springs National Park, AR 71913


Stratton Metal Resources, Ltd.
400 Capability Green
Luton, United Kingdom 3AE
UNITED KINGDOM


Struers Incorporation
P.O. Box 945540
Atlanta, GA 30394-5540


Summit Funding Group, Inc.
4680 Parkway Drive
Suite 300
Mason, OH 45040


Summit Vendor Finance
4680 Parkway Drive
Suite 300
Mason, OH 45040


Sun Environmental Corp.
4655 Crossroads Park Drive
Liverpool, NY 13088


Superior Alloy Steel Co.
3835 Lakeside Avenue
Cleveland, OH 44114


Superior Lubricants
6485 Ridings Road
Syracuse, NY 13206


Superior Lubricants
P.O. Box 74657
Cleveland, OH 44194


Susquehanna Commercial Finance, Inc.
2 Country View Road, Suite 300
Malvern, PA 19355
Sweco Inc.
8029 Dixie Highway
Florence, KY 41042


Sweco Inc.
Division of M-I LLC
P.O. Box 733813
Dallas, TX 75373-3813


Symbus Law Group PLLC
1775 I Street, NW
Suite 1150
Washington, DC 20006


Symbus Law Group, PLLC
P.O. Box 933
Culpeper, VA 22701


Syracuse Real Estate LLC
812 Huron Road
Suite 880
Cleveland, OH 44115


Syracuse SMSA Limited Partnership
d/b/a Verizon Wireless
180 Washington Valley Road
Bedminster, NJ 07921


Syracuse SMSA Limited Partnership
180 Washington Valley Road
Bedminster, NJ 07921


Sysaid Technologies, Ltd.
37 Sderot Sha'ul
HaMelech, Tel Aviv-Yafo, 6492806
ISRAEL


T.P. O'Brien Enterprises Inc.
1684 County Route 1
Oswego, NY 13126


Talon Harp
130 Slayton Avenue
Syracuse, NY 13205
Target Freight Managementnt
151 John James Audubon Parkway
Amherst, NY 14228


Taubert Electric Motors LLC
10639 Prospect Junction Road
Remsen, NY 13438


Taylor Northeast, Inc.
931 Hemlock Road
Morgantown, PA 19543


TBW Industries, Inc.
571 Cherry Road
Souderton, PA 18964


TBW Industries, Inc.
P.O. Box 527
Souderton, PA 18964-0527


TCF Equipment Finance
11100 Wayzata Boulevard
Suite 801
Minnetonka, MN 55305


Team Viewer
P.O. Box 743135
Atlanta, GA 30374-3135


Thalheimer Brothers, Inc.
700 East Godfrey Avenue
Philadelphia, PA 19124


The Collins Companies, Inc.
11 Thompson Road
P.O. Box 1053
East Windsor, CT 06088


The Hanover Insurance Group
P.O. Box 580045
Charlotte, NC 28258-0045
The Sigma Group LLC
7326 State Route 19
Unit 2301
Mount Gilead, OH 43338


The Vitality Group LLC
062278 Collections Centre Drive
Chicago, IL 60693


The Young Industries, Inc.
16 Painter Street
Muncy, PA 17756


Therm-O-Rock East, Inc.
P.O. Box 429
New Eagle, PA 15067-0429


Thermatex Sales Corp.
Canadian Ferro Refractories
P.O. Box 846157
Boston, MA 02284-6157


Thermo Eberline LLC
27 Forge Parkway
Franklin, MA 02038-3135


Thermo Eberline LLC
P.O. Box 742857
Atlanta, GA 30374


Thermo Fisher Financial Service
168 Third Avenue
Waltham, MA 02451


Thermo Fisher Financial Services, Inc.
168 Third Avenue
Waltham, MA 02451


Thermo Scientific
2 Radcliff Road
Tewksbury, MA 01876
Thermo-Temp
813-A Woodcrest Drove
P.O. Box 10687
Houston, TX 77018-2127


Thompson & Johnson Equipment
6926 Fly Road
East Syracuse, NY 13057


Thompson Hine, LLP
3900 Key Center
127 Public Square
Cleveland, OH 44114-1291


Total Equipment Training
1875 Agle Farms Road
Chester Springs, PA 19425


Transcat, Inc.
35 Vantage Point Drive
Rochester, NY 14624


Transcat, Inc.
P.O. Box 62827
Baltimore, MD 21264-2827


Tranzact Inc.
350 N. Marshall Street
Lancaster, PA 17602


Treibacher Industries AG
Auer-von-Welsbach-StraBe 1
9330 Althofen
AUSTRIA


Trillium
13011 S.E. Jennifer Street
Suite 204
Clackamas, OR 97015


Truck Fax Inc.
17700 S. Woodland
Cleveland, OH 44120
Trumbull Foundry and Alloy
49 W. Federal Street
Niles, OH 44446


Uline
12575 Uline Drive
Pleasant Prairie, WI 53158


Uline
Attn: Accounts Receivable
P.O. Box 88741
Chicago, IL 60680-1741


UMECC/IHC/MECC-USA
9468 Meridian Way
West Chester, OH 45069


Union Chill Mat Company
P.O. Box 250
Route 588 West
Zelienople, PA 16063-0250


United Parcel Service
P.O. Box 7247-0244
Philadelphia, PA 19170-0001


United Process Controls
6724 South 13th Street
Oak Creek, WI 53154


United Rentals (North America)
100 First Stamford Place
Suite 700
Stamford, CT 06902


United Rentals (North America)
P.O. Box 100711
Atlanta, GA 30384-0711


United States Fire Insurance
P.O. Box 29898
New York, NY 10087-9898
United Steel Workers
812 State Fair Boulevard, Building #7
Syracuse, NY 13209


United Steel Workers
812 State Fair Boulevard
Building #7
Syracuse, NY 13209


United Testing Systems, Inc.
P.O. Box 75
Bath, OH 44210-0075


United Way of Central of New York
980 James Street
Syracuse, NY 13203


Universal Stainless & Alloy Products Inc
600 Mayer Street
Bridgeville, PA 15017


Universal Stainless & Alloy Products Inc
P.O. Box 640595
Pittsburgh, PA 15264-0595


Upstate Equipment
6883 Schuyler Road
East Syracuse, NY 13057


Upstate Radiology Associates
224 Harrison Street
Suite 601
Syracuse, NY 13202


Upstate Refractory Services Inc.
100 Erie Boulevard
Newark, NY 14513


US Bronze Foundry & Machines, Inc.
18649 Brake Shoe Road
Meadville, PA 16335


US Fire Insurance
P.O. Box 29898
New York, NY 10087-9898
USA Bluebook
P.O. Box 9004
Gurnee, IL 60031-9004


Usherwood
1005 West Fayette Street
Syracuse, NY 13204


Usherwood Office Technology
1005 West Fayette Street
Syracuse, NY 13204


Vacuum Ceramics Inc.
14 Gist Lane
P.O. Box 318
Mount Braddock, PA 15465


Veritas Alloys & Metals LLC
230 Grange Road
Rochester, PA 15074


Verizon Wireless
P.O. Box 408
Newark, NJ 07101-0408


Vesuvius Incorporated
5645 Collections Center Drive
Chicago, IL 60693


VFS Leasing Co.
P.O. Box 26131
Greensboro, NC 27402


Victor Metals, Inc.
P.O. Box 280
29309 Clayton Avenue
Wickliffe, OH 44092


Village of Solvay
Solvay Electric
1100 Woods Road
Syracuse, NY 13209
Volvo Financial Services
P.O. Box 2786
Syracuse, NY 13220


Voss Metals Company
2103 N. Central Avenue
Rockford, IL 61101


Voss Metals Company, Inc.
c/o Daniels, Porco and Lusardi, LLP
1 Memorial Avenue
Pawling, NY 12564


Waste Management of Syracuse
P.O. Box 13648
Philadelphia, PA 19101-3648


Weaver Material
1810 Industrie Drive
Jamestown, NY 14701


Weaver Material
Box 8000
Dept. 182
Buffalo, NY 14267-0002


WellNow Urgent Care PC
P.O. Box 1848
Albany, NY 12201


Wells Fargo Equipment Finance
Manufacturer Services Group
P.O. Box 1433
Des Moines, IA 50306


Wesco Receivables Corp.
225 W. Station Square Drive
Suite 700
Pittsburgh, PA 15219-1151


Wesco Receivables Corp.
P.O. Box 825089
Philadelphia, PA 19182-5089
Wilkoff & Sons LLC
2700 East 47th Street
Cleveland, OH 44104


Willey Lumber Company
100 Hartwell Avenue
East Syracuse, NY 13057


Windstream
P.O. Box 9001013
Louisville, KY 40290-1013


Winton Products Co.
2500 West Boulevard B
Charlotte, NC 28208


Winton Products Co.
Box 36332
Charlotte, NC 28236


Wogen Resources Ltd.
4 The Sanctuary
Westminster London SW1P 3JS
UNITED KINGDOM


WS Hampshire Inc.
365 Keyes Avenue
Hampshire, IL 60140


WTS - Waste Technology Services, Inc.
Dept. #369
P.O. Box 8000
Buffalo, NY 14267


WTS-Waste Technology Service
1318 Kossuth Street
Bridgeport, CT 06608


XPO Logistics Freight, Inc.
29559 Network Place
Chicago, IL 60673


Xtek Inc.
11451 Reading Road
Cincinnati, OH 45241
Xtek, Inc.
P.O. Box 645248
Cincinnati, OH 45264


Xylem Dewatering Solutions, Inc.
26717 Network Place
Chicago, IL 60673-1267


Yushi-Seihim Co., Ltd.
3848 Carson Street, Suite 303
Torrance, CA 90503


Zenith Insurance Company
21255 Califa Street
Woodland Hills, CA 91367


Zenith Insurance Company
P.O. Box 9055
Van Nuys, CA 91499


Zones, Inc.
P.O. Box 34740
Seattle, WA 98124-1740
